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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-486V
                                        UNPUBLISHED


    CATHERINE CAMPBELL TINGLEY,                             Chief Special Master Corcoran

                        Petitioner,                         Filed: January 24, 2023
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Anthony A. Liberatore, A. Liberatore, P.C., Santa Monica, CA, for Petitioner.

Alexa Roggenkamp, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On January 11, 2021, Catherine Campbell Tingley filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2
(the “Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to
vaccine administration (SIRVA) resulting from an influenza vaccination she received on
October 22, 2018. Petition at 1. Petitioner further alleges that the vaccination was
administered within the United States, her shoulder injury persisted for more than six
months, and that neither she, nor any other party, has ever filed any action, or received
compensation in the form of an award or settlement for Petitioner’s vaccine-related injury.
Petition at 1, 4. The case was assigned to the Special Processing Unit of the Office of
Special Masters.


1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On December 16, 2022, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c)
Report at 1. Specifically, Respondent determined that “[P]etitioner had no history of pain,
inflammation, or dysfunction of her left shoulder; pain more likely than not occurred within
48 hours after receipt of an intramuscular vaccination; pain was limited to the shoulder in
which the vaccine was administered; and no other condition or abnormality has been
identified to explain petitioner’s shoulder pain . . . . No other causes for [P]etitioner’s
SIRVA were identified . . . . In addition, given the medical records outlined above, the
statutory six-month sequela requirement has been satisfied.” Id. at 6. Respondent
concluded that “[P]etitioner has satisfied all legal prerequisites for compensation under
the Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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